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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                     TYLER DIVISION

   UNITED STATES OF AMERICA §
                                               § No. 6:20-CR-97-01
   v.                           §
                           § JUDGES JCB/JDL
   SHAWN CARL GAITAN (01) §


                                     FACTUAL BASIS

         Investigation by the Bureau of Alcohol, Tobacco, Firearms, and Explosives

  (BATFE), Drug Enforcement Administration (DEA), Texas Department of Public Safety,

  and the Gregg County Sheriffs Of ice disclosed the following facts that establish that I,

  the defendant, Shawn Carl Gaitan, committed the conduct described in Count 1 of the

  indictment, which charges a violation of 21 U.S.C. § 846 (conspiracy to distribute and to

 possess with intent to distribute methamphetamine). I agree that the following factual

 basis is true and correct:

          1. Beginning in or about September 2019,1 knowingly and intentionally

  combined, conspired, confederated, and agreed with others, including co-defendants in

 this case, to distribute methamphetamine in the Eastern District of Texas. It was the

 objective of the conspiracy to earn a profit by possessing with the intent to distribute and

 distributing at least 50 grams or more of actual methamphetamine or 500 grams or more

 of a mixture or substance containing a detectable amount of methamphetamine. Within

 the conspiracy, I served as a trafficker of bulk methamphetamine for wholesale and mid¬

 level distributors. I knew that those others whom I supplied would further distribute the


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  methamphetamine before it was purchased by end users. I stipulate that: (1)1 was

  personally responsible for the possession with intent to distribute at least 1.5 kilograms

  but not more than 4.5 kilograms of actual methamphetamine or at least 15 kilograms but

  not more than 45 kilograms of a mixture or substance containing a detectable amount of

  methamphetamine, (2) my co-conspirators and I distributed at least that amount during

  my involvement in the conspiracy, and (3) such distribution was part of the jointly

  undertaken activities of the conspiracy.

          2. I had agreed with my co-conspirators, including my co-defendants in this

  case, to violate federal drug laws by facilitating the purchase and distribution of

  methamphetamine in the Longview, Texas area, which is in the Eastern District of Texas.

  I knew that the objective of the conspiracy was to distribute methamphetamine, and I

  knowingly involved myself in the conspiracy. My co-conspirators and I were

  interdependent upon each other to achieve our objectives of purchasing and distributing

  methamphetamine.

          3. On March 2, 2020,1 sold approximately one pound of methamphetamine to

  a person who I now know was working for law enforcement as a confidential informant.

  This methamphetamine was tested in a laboratory and determined to be 413.9 grams of

  actual methamphetamine. On March 5, 2020,1 directed co-defendants Shane Dispennett

  and Lance Allen to transport approximately one kilogram of methamphetamine from

  Houston to Longview for me. Dispennett and Allen were stopped by DPS Troopers, the

  methamphetamine was located, and they were arrested. The methamphetamine seized



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  from Dispennett and Alien s car was later tested in a laboratory and determined to be 767

  grams of actual methamphetamine. I stipulate that these incidents were in furtherance of

  my participation in the conspiracy charged in Count 1 of the indictment.

          4. I am pleading guilty to Count 1 in this case because I am guilty of the

  violation alleged. I have had an opportunity to consult with an attorney and I am satisfied

  with the advice and counsel provided to me. I acknowledge that these acts violated 21

  U.S.C. § 846. I hereby stipulate that the facts described above are true and correct, and I

  accept them as the uncontested facts of this case.

          5. I stipulate and agree to forfeit any and all interest I may have in the

  following property to the United States because the property constitutes contraband,

  instrumentalities of my offenses, or proceeds traceable to the illegal activity described in

  the indictment or was used or intended for use to facilitate the offense described in the

  indictment:

          a. a money judgment in the amount of $10,000.00, which represents proceeds

          obtained by me as a result of the offense alleged in Count 1 of the indictment and




                                                    Defendant
          I have reviewed this Factual Basis with the defendant. Based on these discussions,

  I am satisfied that he understands the terms and effect of the Factual Basis and that he has

  signed it voluntarily.



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        Dated:
                                          CARLO D ANGELO
                                          Attorney for Defendant




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